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   December 21, 2018

   ByECF

   The Honorable Joel C. Hoppe
   United States District Court for the Western District of Virginia
   116 North Main Street, Room 3 14
   Harrisonburg, VA 22802

                  Re: Sines v. Kessler, 17 Civ. 0072 (NKM) (W.D. Va.)

   Dear Judge Hoppe:

                   We submit this letter on behalf of Plaintiffs in the above-captioned action to request
   that the deadline for the close of fact discovery be extended from the current date of February 8,
   2019, to April 24, 2019, which is currently the date set for the close of expert discovery. We seek
   additional time in the discovery period primarily for Plaintiffs to depose Defendants, virtually none
   of whom have produced the documents necessary for Plaintiffs to prepare for their depositions.

                   As Your Honor is aware, the discovery of Defendants' documents and third-party
   discovery, particularly the discovery of Defendants' communications through Discord, have been
   very limited thus far, despite our efforts over the last several months to obtain those documents.
   On January 25, 2018, Plaintiffs requested that each Defendant produce, generally speaking, all
   documents and communications concerning the events at issue in this case. Communications
   among Defendants are vital in a case alleging a conspiracy and therefore critical to Plaintiffs'
   counsel's ability to depose Defendants in any meaningful way. Defendants have now certified
   that responsive documents are stored in Defendants' social media accounts and personal electronic
   devices, such as cell phones and laptop computers. To date, however, only a single Defendant -
   Jason Kessler - has imaged a single electronic device, and yet he still has not produced to Plaintiffs
   the resulting responsive ESI from that device.

                   Only with the Court's intervention have we recently obtained the ability to image
   Defendants' electronic devices to facilitate their document production. It will likely be a matter
   of weeks before Defendants are able to review their documents for potential production to
   Plaintiffs. Even assuming the utmost diligence by Defendants, there is a substantial likelihood that
   Plaintiffs will not receive the documents in enough time to review them and prepare for the
   depositions of over a dozen Defendants by the current close of fact discovery.



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                  Similarly, although Plaintiffs served a third-party subpoena on Discord on January
   2, 2018, there has been considerable delay obtaining Discord's compliance with that subpoena.
   This process was complicated by the requirement under the Stored Communications Act of
   obtaining Defendants' consents, another process that required this Court's intervention. Plaintiffs'
   counsel received the first tranche of Discord documents last week, followed by another production
   on December 18, 2018. The delayed disclosure of documents from both Defendants and Discord
   has deprived Plaintiffs of the bulk of Defendants' communications regarding the events at issue in
   this case. We are not in a position to schedule and proceed with Defendants' depositions until that
   important discovery is complete, given that the Discord messages were at the heart of the
   conspiracy alleged in this litigation and thus are crucial to Plaintiffs' ability to conduct meaningful
   depositions. 1 Discovery from other third parties has similarly been delayed, with nearly all
   subpoenaed third parties either responding with deficient productions or ignoring our subpoenas.

                   By contrast, Plaintiffs' document production is substantially complete and we do
   not anticipate scheduling issues from our side that would prevent the completion of Plaintiffs'
   depositions within the current fact discovery cut-off of February 8, 2019. Furthermore, we are
   optimistic that with the Court's recent assistance in obtaining ESI from Defendants and Discord,
   Plaintiffs will be able to take the remaining Defendants' depositions in February and March and
   complete fact discovery by April 24.

                  We will be prepared to discuss these issues with the Court at the conference
   scheduled for January 4 at 2 p.m. Counsels Campbell and Kolenich have advised they consent to
   this request; Counsels DiNucci and Jones have yet to respond.



                                            Respectfully submitted,



                                            AlanL~                   ~




      Unlike the other Defendants, Defendant Kessler produced a substantial volume of
      documents, which allowed Plaintiffs to conduct his deposition on May 15, 2018.
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                                        CERTIFICATE OF SERVICE

         I hereby certify that on December 21, 2018, the foregoing was filed with the Clerk of
  Court through the CM/ECF system, which will send a notice of electronic filing to:

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  Europa, Inc. (Identity Evropa), and Christopher Cantwell
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          I further hereby certify that on December 21, 2018, I also served the following non-ECF
  participants, via U.S. mail, First Class and postage prepaid, addressed as follows:

   Loyal White Knights of the Ku Klux Klan                Moonbase Holdings, LLC
   a/k/a Loyal White Knights Church of                    c/o Andrew Anglin
   the Invisible Empire, Inc.                             P.O. Box 208
   c/o Chris and Amanda Barker                            Worthington, OH 43085
   2634 U.S. HWY 158 E
   Yanceyville, NC 27379                                  Andrew Anglin
                                                          P.O. Box 208
   Augustus Sol Invictus                                  Worthington, OH 43085
   9823 4th Avenue
   Orlando, FL 32824                                      East Coast Knights of the Ku Klux Klan
                                                          a/k/a East Coast Knights of the
   Fraternal Order of the Alt-Knights                     True Invisible Empire
   c/o Kyle Chapman                                       26 South Pine St.
   52 Lycett Circle                                       Red Lion, PA 17356
   Daly City, CA 94015


          I further hereby certify that on December 21, 2018, I also served the following non-ECF
  participant, via electronic mail, as follows:

  Elliott Kline
  eli f mosley@gmail.com

                                                      s/ Robert T. Cahill
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